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                         UNITED STATES DISTRICT COURT

                                        FOR THE

                      EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                          Plaintiff
                                                           CIVIL NO.
              vs.


DANA M JACKSON

                          Defendants


                                      COMPLAINT

       The United States of America, on behalf of its Agency, the Department of Health

and Human Services, by its specially appointed counsel, Michael McKeever of KML

LAW GROUP, P.C., represents as follows:

       1.       This Court has jurisdiction pursuant to 28 U.S.C. 1345.

       2.       The last-known address(es) of the Defendants, DANA M JACKSON

(“Defendants”) is 1605 Nedro Ave, Philadelphia, PA 19141.

       3.       That the defendant is indebted to the plaintiff in principal amount of

$68,541.99, plus interest of $26,182.45, for a total of $94,724.44. A true and correct

copy of the Certificate of Indebtedness is attached as Exhibit “A” (“Certificate of

Indebtedness”).

       4.       Demand has been made upon Defendant by Plaintiff for the sum due but

the amount due remains unpaid.

       WHEREFORE, the plaintiff demands judgment against Defendant as follows;
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               (A) In the amount $94,724.44.

               (B) Plus filing fee allowed pursuant to 28 U.S.C., Section 1914 in the sum

                   of $150.00.

               (C) Interest from the date of judgment at the legal rate of interest in effect

                   on the date of judgment until paid in full.

               (D) Costs of suit.

       Notice is hereby given to Defendant that Plaintiff intends to seek satisfaction of

any judgment rendered in it favor in this action from any debt accruing.



                                      United States of America by and through
                                      its specially appointed counsel
                                      KML Law Group, P.C.

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